       Case
        Case3:11-cv-05310-EMC
            3:11-cv-05310-EMC Document
                               Document330
                                       334 Filed
                                           Filed04/15/14
                                                 04/21/14 Page
                                                          Page11of
                                                                of412



 1 Jennifer A. Kash (Bar No. 203679)
   jenniferkash@quinnemanuel.com
 2 Eric E. Wall (Bar No. 248692)
   ericwall@quinnemanuel.com
 3 QUINN EMANUEL URQUHART & SULLIVAN, LLP
   50 California Street, 22nd Floor
 4 San Francisco, California 94111
   Telephone: (415) 875-6600
 5 Facsimile: (415) 875-6700

 6 Attorneys for Plaintiff-Counterclaim Defendant
   Symantec Corporation
 7
   Jason W. Wolff (SBN 215819/wolff@fr.com)
 8
   Olga I. May (SBN 232012/omay@fr.com)
 9 Aleksandr Gelberg (SBN 279989/gelberg@fr.com)
   FISH & RICHARDSON P.C.
10 12390 El Camino Real
   San Diego, California 92130
11 Telephone: (858) 678-5070/Facsimile: (858) 678-5099

12 Attorneys for Defendants-Counterclaimants Acronis, Inc.,
   Acronis International GmbH and OOO Acronis
13

14                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
15

16
          Symantec Corporation,                               Case No. 11-cv-5310 EMC
17
                                Plaintiff,
18                                                            STIPULATION OF DISMISSAL
                   vs.                                        WITH PREJUDICE
19
          Acronis, Inc, Acronis International GmbH, and
20        OOO Acronis
21
                                Defendants.
22

23
            Pursuant to Fed.R.Civ.P. 41(a)(2), Plaintiff Symantec Corporation (“Symantec”) hereby
24
     dismisses its complaint and all causes of action as against Defendant Acronis, Inc, Acronis
25
     International GmbH, and OOO Acronis (“Acronis”), with prejudice subject to the following
26
     conditions:
27

28
      Case
       Case3:11-cv-05310-EMC
           3:11-cv-05310-EMC Document
                              Document330
                                      334 Filed
                                          Filed04/15/14
                                                04/21/14 Page
                                                         Page22of
                                                               of412



 1          Acronis shall comply with the terms of the confidential Settlement Agreement dated

 2 March 27, 2014.

 3          Acronis hereby dismisses its counter-claims and all causes of action as against Symantec

 4 with prejudice, subject to the following conditions:

 5
            Symantec shall comply with the terms of the confidential Settlement Agreement dated
 6
     March 27, 2014.
 7

 8          This Court shall retain jurisdiction over the confidential Settlement Agreement for the

 9 purposes of enforcing the terms of the confidential Settlement Agreement including entering the

10 Consent Judgment (as set forth in Section 4.2 of the confidential Settlement Agreement and

11 attached as Exhibit A to this stipulation) should Acronis breach the confidential Settlement

12 Agreement by not making the agreed upon payments to Symantec as set forth in Section 4.1 and

13 4.2 of the confidential Settlement Agreement.

14          The parties shall bear their own costs and attorneys’ fees.

15 DATED: April 15, 2014                QUINN EMANUEL URQUHART & SULLIVAN

16                                      By: /s/ Jennifer Kash
                                        Jennifer A. Kash (Bar No. 203679)
17                                      jenniferkash@quinnemanuel.com
                                        Eric E. Wall (Bar No. 248692)
18                                      ericwall@quinnemanuel.com
                                        QUINN EMANUEL URQUHART &
19                                      SULLIVAN, LLP
                                        50 California Street, 22nd Floor
20                                      San Francisco, California 94111
                                        Telephone: (415) 875-6600
21                                      Facsimile: (415) 875-6700

22                                      Dave Nelson (pro hac vice)
                                        davenelson@quinnemanuel.com
23                                      Brianne Straka (pro hac vice)
                                        briannestraka@quinnemanuel.com
24                                      500 West Madison Street, Suite 2450
                                        Chicago, IL 60661
25                                      Telephone: (312) 705-7400
                                        Facsimile: (312) 705-7401
26
                                        Attorneys for Plaintiff-Counterclaim Defendant
27                                      Symantec Corporation

28


                                                      2
     Case
      Case3:11-cv-05310-EMC
          3:11-cv-05310-EMC Document
                             Document330
                                     334 Filed
                                         Filed04/15/14
                                               04/21/14 Page
                                                        Page33of
                                                              of412



 1 DATED: April 15, 2014     FISH & RICHARDSON P.C.

 2                           By: Olga I. May
 3                           John W. Thornburgh
 4                           Olga I. May
                             Fish & Richardson P.C.
 5                           12390 El Camino Real
                             San Diego, California 92130
 6                           Tel.: (858) 678-5070
                             Fax: (858) 678-5099
 7

 8                           Attorneys for Defendants-Counterclaimants
                             Acronis, Inc., Acronis Int’l GmbH, and OOO Acronis
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                          3
      Case
       Case3:11-cv-05310-EMC
           3:11-cv-05310-EMC Document
                              Document330
                                      334 Filed
                                          Filed04/15/14
                                                04/21/14 Page
                                                         Page44of
                                                               of412



 1                                    SIGNATURE ATTESTATION
 2         Pursuant to General Order No. 45(X)(B), I hereby certify that concurrence in the filing of

 3 this document has been obtained from each of the other signatories shown above.

 4                                                             Kate E Cassidy
                                                        _/s/____________________________
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                    4
       Case
        Case3:11-cv-05310-EMC
            3:11-cv-05310-EMC Document
                              Document330-1
                                       334 Filed
                                             Filed04/15/14
                                                 04/21/14 Page
                                                           Page1
                                                               5 of
                                                                 of 12
                                                                    2



 1                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2

 3

 4 Symantec Corporation,                                      Case No. 11-cv-5310 EMC

 5                           Plaintiff,

 6           vs.

 7 Acronis, Inc, Acronis International GmbH,
     and OOO Acronis
 8

 9                           Defendants.

10

11       [PROPOSED] ORDER REGARDING STIPULATION OF DISMISSAL WITH PREJUDICE

12           Before this Court is the Stipulation regarding dismissal of Symantec Corporation (“Symantec”)’s

13 complaint and Acronis, Inc, Acronis International GmbH, and Acronis International GmbH (“Acronis”)’s

14 counterclaims with prejudice. After having considered the same, the Court is of the opinion that such

15 relief be GRANTED.

16           IT IS THEREFORE ORDERED THAT:

17           1.      This Court shall retain jurisdiction over the confidential Settlement Agreement for the

18 purposes of enforcing the terms of the Settlement Agreement including entering the Consent Judgment (as

19 set forth in Section 4.2 of the confidential Settlement Agreement and attached as Exhibit A to this Order)

20 should Acronis breach the confidential Settlement Agreement by not making the agreed upon payments to

21 Symantec as set forth in Section 4.1 and 4.2 of the confidential Settlement Agreement.

22           2.      Within five days after the Court receives notification from Symantec that Acronis has

23 breached the confidential Settlement Agreement by not making the agreed upon payments to Symantec as

24 set forth in Sections 4.1 and 4.2 of the Agreement, this Court shall enter the Consent Judgment regarding

25 that breach which is attached as Exhibit A.

26           3.      Subject to these conditions, all claims by Symantec Corporation (“Symantec”) against

27 Acronis in the patent-infringement litigation of the above captioned case are dismissed WITH

28 PREJUDICE and all claims by Acronis against Symantec are dismissed WITH PREJUDICE.


                                                          5
     Case
      Case3:11-cv-05310-EMC
          3:11-cv-05310-EMC Document
                            Document330-1
                                     334 Filed
                                           Filed04/15/14
                                               04/21/14 Page
                                                         Page2
                                                             6 of
                                                               of 12
                                                                  2



 1       4.    Acronis and Symantec will each bear its own costs, expenses and legal fees.

 2       IT IS SO ORDERED.
               4/21/14
                                                                    ISTRIC
 3 DATED:____________________________
                                                              T ES D        TC
 4                                                          TA
                                                             _______________________________




                                                                                       O
                                                       S




                                                                                        U
                                                      ED




                                                                                         RT
 5                                                                       Honorable   Edward M. Chen
                                                                               D States
                                                                             E




                                                  UNIT
                                                                       A N T
                                                                    GR   United         District Judge
 6




                                                                                             R NIA
 7                                                                                  en
                                                                             d M. Ch




                                                  NO
                                                                        dwar
                                                                Judge E




                                                                                             FO
 8




                                                    RT




                                                                                         LI
 9                                                         ER




                                                       H




                                                                                       A
                                                                N                        C
                                                                                  F
10                                                                  D IS T IC T O
                                                                          R
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                   6
     Case
      Case3:11-cv-05310-EMC
          3:11-cv-05310-EMC Document
                            Document330-2
                                     334 Filed
                                           Filed04/15/14
                                               04/21/14 Page
                                                         Page1
                                                             7 of
                                                               of 12
                                                                  6



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12                EXHIBIT A-1 [Redacted Version]
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                        13
       Case
        Case3:11-cv-05310-EMC
            3:11-cv-05310-EMC Document
                              Document330-2
                                       334 Filed
                                             Filed04/15/14
                                                 04/21/14 Page
                                                           Page2
                                                               8 of
                                                                 of 12
                                                                    6



 1

 2 Jennifer A. Kash (Bar No. 203679)
   jenniferkash@quinnemanuel.com
 3 Eric E. Wall (Bar No. 248692)
   ericwall@quinnemanuel.com
 4 QUINN EMANUEL URQUHART & SULLIVAN, LLP
   50 California Street, 22nd Floor
 5 San Francisco, California 94111
   Telephone: (415) 875-6600
 6 Facsimile: (415) 875-6700

 7 Attorneys for Plaintiff-Counterclaim Defendant
   Symantec Corporation
 8
   Jason W. Wolff (SBN 215819/wolff@fr.com)
 9 Olga I. May (SBN 232012/omay@fr.com)

10 Aleksandr Gelberg (SBN 279989/gelberg@fr.com)
   FISH & RICHARDSON P.C.
11 12390 El Camino Real
   San Diego, California 92130
12 Telephone: (858) 678-5070/Facsimile: (858) 678-5099

13 Attorneys for Defendants-Counterclaimants Acronis, Inc.,
   Acronis International GmbH and OOO Acronis
14

15                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
16
                                      SAN FRANCISCO DIVISION
17

18 SYMANTEC CORPORATION,
                                                  Case No. 3:11-cv-05310-EMC
19                Plaintiff-Counterclaim
     Defendant,                                   REDACTED STIPULATED FINAL
20                                                JUDGMENT AND CONSENT ORDER
           vs.
21
   ACRONIS INC., ACRONIS
22 INTERNATIONAL GMBH, AND OOO
   ACRONIS
23
            Defendants-Counterclaimants.
24

25          The Parties (Symantec Corporation (“Symantec”) and Acronis, Inc., Acronis International
26 GmbH, and OOO Acronis (collectively, “Acronis”)), by and through their respective counsel,

27
     agree to the entry of this Stipulated Final Judgment and Consent Order (“Consent Judgment”).
28


                                                    14
       Case
        Case3:11-cv-05310-EMC
            3:11-cv-05310-EMC Document
                              Document330-2
                                       334 Filed
                                             Filed04/15/14
                                                 04/21/14 Page
                                                           Page3
                                                               9 of
                                                                 of 12
                                                                    6



 1          This Court has jurisdiction to enter this Consent Judgment because it expressly retained

 2 jurisdiction over the Parties March 27, 2014 confidential Settlement Agreement (“Settlement

 3
     Agreement”) pursuant to this Court’s March ___, 2014 order in the above captioned case.
 4
            Symantec and Acronis acknowledge that they have knowingly and voluntarily entered into
 5
     this Consent Judgment and the Settlement Agreement after reviewing the same with their counsel
 6
     or having had ample opportunity to consult with counsel. Symantec and Acronis understand the
 7

 8 undertakings, obligations and terms of this Consent Judgment and the Settlement Agreement.

 9          Acronis has agreed to the jurisdiction of this Court to enforce this Consent Judgment and
10 to waive any right to appeal, seek judicial review, or to otherwise challenge or contest the validity

11
     of this Consent Judgment.
12
            The Parties having requested the entry of this Consent Judgment, it is therefore
13
     ORDERED, ADJUDGED, and DECREED as follows:
14

15          15.      This Court has subject matter jurisdiction over the action and personal jurisdiction

16 over the parties, venue is proper in this district, and the Court has jurisdiction to enter a judgment

17 pursuant to the terms of this Consent Judgment as final resolution of this action.

18          16.      On March 27, 2014 Symantec and Acronis entered into a confidential Settlement
19
     Agreement (“Agreement”) in settlement for three civil actions:
20
                  d. United States District Court for the Northern District of California captioned
21                   Symantec Corp. v. Acronis Inc. et al, Case No. 3:11-cv-5310 EMC (“Acronis I”),
22                e. United States District Court for the Northern District of California captioned
23                   Symantec Corp. v. Acronis Inc. et al, Case No. 3:12-cv-5331 JST (“Acronis II”),

24                f. United States District Court for the District of Delaware captioned Acronis Int’l
                     GmbH et al v. Symantec Corporation Civil Action No. 12-372 (SLR) (“Acronis
25                   Delaware”)

26

27

28


                                                       15
      Case
       Case3:11-cv-05310-EMC
           3:11-cv-05310-EMC Document
                              Document330-2
                                      334 Filed
                                             Filed04/15/14
                                                 04/21/14 Page
                                                           Page4
                                                               10 of
                                                                  of 612



 1          17.     That Agreement required Acronis to make certain payments within a specified

 2 period of time. If Acronis did not satisfy its payment obligations, the parties agreed that this

 3
     Consent Judgment would be entered.
 4
            18.     On ______ Symantec notified Acronis of its failure to make a payment under
 5
     Section ___.
 6
            19.     Acronis did not cure the non-payment within 30 days of that notice which made all
 7

 8 remaining payments immediately due and payable (“Accelerated Payment”).

 9          20.     As of _____, Acronis has not made the Accelerated Payment under Section 4.2 of
10 the Agreement.

11
            21.     Pursuant to Section 4.2 of the Agreement, the parties have stipulated to and jointly
12
     file this Consent Judgment.
13
            22.     Pursuant to Section 4.2 of the Agreement, Acronis has stipulated to damages of
14

15 $[redacted] for Acronis’s breach of the Agreement. Symantec is therefore AWARDED

16 $[redacted].

17          23.     Symantec is further AWARDED $[redacted] for attorneys’ fees and costs which
18 Acronis has agreed to pay to cover Symantec’s fees and costs to enforce this Consent Judgment.

19
            24.     Symantec is further AWARDED interest on $[redacted] for any time period
20
     between the entry of this Consent Judgment and the date upon which Symantec receives payment
21
     from Acronis as ordered herein.
22

23          25.     All relief not granted in this Consent Judgment is DENIED.

24          26.     All pending motions not previously resolved are DENIED.

25          27.     This Court will retain jurisdiction over the parties, as necessary, to enforce the
26
     terms of this Consent Judgment.
27

28


                                                      16
     Case
      Case3:11-cv-05310-EMC
          3:11-cv-05310-EMC Document
                             Document330-2
                                     334 Filed
                                            Filed04/15/14
                                                04/21/14 Page
                                                          Page5
                                                              11 of
                                                                 of 612



 1         28.     The parties hereby stipulate and agree, without further notice to any of them, to

 2 entry of this Consent Judgment, which shall constitute a final judgment against Acronis.

 3

 4 DATED: _____________                QUINN EMANUEL URQUHART & SULLIVAN

 5                                     By: /s/ Jennifer Kash
                                       Jennifer A. Kash (Bar No. 203679)
 6                                     jenniferkash@quinnemanuel.com
                                       Eric E. Wall (Bar No. 248692)
 7                                     ericwall@quinnemanuel.com
                                       QUINN EMANUEL URQUHART &
 8                                     SULLIVAN, LLP
                                       50 California Street, 22nd Floor
 9                                     San Francisco, California 94111
                                       Telephone: (415) 875-6600
10                                     Facsimile: (415) 875-6700

11                                     Dave Nelson (pro hac vice)
                                       davenelson@quinnemanuel.com
12                                     Brianne Straka (pro hac vice)
                                       briannestraka@quinnemanuel.com
13                                     500 West Madison Street, Suite 2450
                                       Chicago, IL 60661
14                                     Telephone: (312) 705-7400
                                       Facsimile: (312) 705-7401
15
                                       Attorneys for Plaintiff-Counterclaim Defendant
16                                     Symantec Corporation

17 DATED: ______________               FISH & RICHARDSON P.C.

18                                     By: Olga I. May

19                                     John W. Thornburgh
                                       Olga I. May
20                                     Fish & Richardson P.C.
                                       12390 El Camino Real
21                                     San Diego, California 92130
                                       Tel.: (858) 678-5070
22                                     Fax: (858) 678-5099

23                                     Attorneys for Defendants-Counterclaimants
                                       Acronis, Inc., Acronis Int’l GmbH, and OOO Acronis
24

25                                     SIGNATURE ATTESTATION

26         Pursuant to General Order No. 45(X)(B), I hereby certify that concurrence in the filing of

27 this document has been obtained from each of the other signatories shown above.

28
                                                         _/s/____________________________


                                                    17
     Case
      Case3:11-cv-05310-EMC
          3:11-cv-05310-EMC Document
                             Document330-2
                                     334 Filed
                                            Filed04/15/14
                                                04/21/14 Page
                                                          Page6
                                                              12 of
                                                                 of 612



 1

 2                               [PROPOSED] ORDER
 3       IT IS SO ORDERED.
 4 DATED:____________________________              _______________________________

 5                                                 Honorable Edward M. Chen
                                                       United States District Judge
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                          18
